         Case 1:21-cr-00670-CJN Document 151 Filed 10/14/22 Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :       Criminal No. 21-670 (CJN)
                                    :
v.                                  :
                                    :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:



                  CONSENT MOTION TO EXTEND FILING DEADLINE

       Defendant Stephen K. Bannon, by and through his undersigned counsel, respectfully asks

this Court to extend through noon on Monday, October 17, 2022, the deadline for the parties to

file their sentencing memoranda. In support of this Motion we state as follows:

       1.      Sentencing is scheduled for October 21, 2022.

       2.      The final presentence investigation report (PSR) was docketed at 12:45 pm on

October 14, 2022.

       3.      The current deadline for the parties to file their sentencing memoranda is October

14, 2022.

       4.      Counsel for Mr. Bannon requests additional time to review the final PSR and

consult with Mr. Bannon prior to filing a sentencing memorandum. See, e.g., United States

Sentencing Guidelines, Resolution of Disputed Factors (Policy Statement) §6A1.3(a) (“[w]hen any

factor important to the sentencing determination is reasonably in dispute, the parties shall be given

an adequate opportunity to present information to the court regarding that factor.”).
         Case 1:21-cr-00670-CJN Document 151 Filed 10/14/22 Page 2 of 3




       5.     Counsel for Mr. Bannon communicated with counsel for the Government by email

and telephone and ascertained that the Government does not oppose this request.

       Wherefore, we respectfully request that this Court grant this Consent Motion To Extend

Filing Deadline.

Dated: October 14, 2022                     Respectfully submitted,

                                            SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

                                               /s/ M. Evan Corcoran
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                                            Counsel for Defendant Stephen K. Bannon




                                               2
           Case 1:21-cr-00670-CJN Document 151 Filed 10/14/22 Page 3 of 3




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 14 day of October 2022, a copy of the foregoing Motion

To Extend Filing Deadline was served via the Court’s CM/ECF system on registered parties and

counsel.


                                             /s/ M. Evan Corcoran
                                          M. Evan Corcoran (D.C. Bar No. 440027)
